                Case 3:20-cv-00406-AJB-DDL    Document 886    Filed 04/14/25   PageID.46218       Page
                                                     1 of 4



                       1 Susan E. Coleman (SBN 171832)
                         E-mail: scoleman@bwslaw.com
                       2 BURKE, WILLIAMS & SORENSEN, LLP
                         501 West Broadway, Suite 1600,
                       3 San Diego, CA 92101-8474
                         Tel: 619.814.5800 Fax: 619.814.6799
                       4
                         Elizabeth M. Pappy (SBN 157069)
                       5 E-mail: epappy@bwslaw.com
                         BURKE, WILLIAMS & SORENSEN, LLP
                       6 60 South Market Street, Ste. 1000
                         San Jose, CA 95113-2336
                       7 Tel: 408.606.6300 Fax: 408.606.6333
                     8 Attorneys for Defendants
                       COUNTY OF SAN DIEGO, SAN DIEGO
                     9 COUNTY SHERIFF’S DEPARTMENT and
                       SAN DIEGO COUNTY PROBATION
                    10 DEPARTMENT
                    11                       UNITED STATES DISTRICT COURT
                    12                   SOUTHERN DISTRICT OF CALIFORNIA
                    13
                    14 DARRYL DUNSMORE, ANDREE                 Case No. 3:20-cv-00406-AJB-DDL
                       ANDRADE, ERNEST ARCHULETA,
                    15 JAMES CLARK, ANTHONY                    DEFENDANTS’ NOTICE OF
                       EDWARDS, REANNA LEVY, JOSUE             MOTION FOR
                    16 LOPEZ, CHRISTOPHER NORWOOD,             RECONSIDERATION OF ORDER
                       JESSE OLIVARES, GUSTAVO                 [DKT. 468] GRANTING
                    17 SEPULVEDA, MICHAEL TAYLOR,              PLAINTIFFS’ MOTION TO
                       and LAURA ZOERNER, on behalf of         COMPEL PRODUCTION OF CIRB
                    18 themselves and all others similarly     REPORTS
                       situated,
                    19                                         [Memorandum of Points & Authorities;
                                   Plaintiffs,                 Coleman Decl.; and [Proposed] Order
                    20                                         filed concurrently herewith]
                              v.
                    21
                       SAN DIEGO COUNTY SHERIFF’S              Date:    Deemed Submitted 4/30/2025
                    22 DEPARTMENT, COUNTY OF SAN
                       DIEGO, SAN DIEGO COUNTY
                    23 PROBATION DEPARTMENT, and               Judge: David D. Leshner
                       DOES 1 to 20, inclusive,
                    24
                                   Defendants.
                    25
                    26 ///
                    27        TO PLAINTIFFS AND TO THEIR ATTORNEYS OF RECORD:
                    28        PLEASE TAKE NOTICE that Defendants COUNTY OF SAN DIEGO, SAN
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                           1                 Case No. 3:20-cv-00406-AJB-DDL
  ATTO RNEY S AT LAW                                                                  NOTICE OF MOTION FOR
       SA N J OSE
                                                                                           RECONSIDERATION
                Case 3:20-cv-00406-AJB-DDL         Document 886     Filed 04/14/25   PageID.46219       Page
                                                          2 of 4



                       1 DIEGO SHERIFF’S OFFICE and SAN DIEGO PROBATION DEPARTMENT
                       2 (collectively “County”) will and hereby do request that the Court, pursuant to
                       3 Federal Rule of Civil Procedure 60, reconsider its earlier discovery order [Doc.
                       4 #468] related to the production of reports generated by the San Diego County
                       5 Sheriff’s Critical Incident Review Board (“CIRB”) and presentation materials
                       6 prepared for CIRB, to Plaintiffs in this case.
                       7        This motion for reconsideration under Rule 60 is made on the grounds that
                       8 there has been an intervening change in the law because the Ninth Circuit in Greer
                       9 and San Diego Union Tribune, LLC v. County of San Diego, 127 F.4th 1216 (9th
                    10 Cir. 2025) recently ruled that the CIRB reports (such as the ones at issue here) and
                    11 other appropriate CIRB documents are protected by the attorney-client privilege.
                    12          This motion is based on this Notice of Motion, the Memorandum of Points
                    13 and Authorities, the Declaration of Elizabeth M. Pappy, together with the exhibits
                    14 thereto, the pleadings and file in this action, and on such further oral or documentary
                    15 evidence as may be presented at or before the hearing on this matter, if any.
                    16          The parties met and conferred about the issues being raised in this motion for
                    17 reconsideration prior to filing the motion. (See, Pappy Decl.)
                    18 Dated: April 14, 2025                       BURKE, WILLIAMS & SORENSEN, LLP
                    19
                    20
                                                                   By:
                    21
                                                                          Susan E. Coleman
                    22                                                    Elizabeth M. Pappy
                    23                                                    Attorneys for Defendants
                                                                          COUNTY OF SAN DIEGO, SAN
                    24                                                    DIEGO COUNTY SHERIFF’S
                                                                          DEPARTMENT and SAN DIEGO
                    25                                                    COUNTY PROBATION
                                                                          DEPARTMENT
                    26
                    27
                    28
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                                  2                Case No. 3:20-cv-00406-AJB-DDL
  ATTO RNEY S AT LAW                                                                        NOTICE OF MOTION FOR
       SA N J OSE
                                                                                                 RECONSIDERATION
                Case 3:20-cv-00406-AJB-DDL         Document 886      Filed 04/14/25    PageID.46220       Page
                                                          3 of 4



                       1                            CERTIFICATE OF SERVICE
                       2        I hereby certify that on this 14 day of April, 2025, I electronically filed the
                       3 foregoing DEFENDANTS’ NOTICE OF MOTION FOR
                       4 RECONSIDERATION OF ORDER [DKT. 468] GRANTING PLAINTIFFS’
                       5 MOTION TO COMPEL PRODUCTION OF CIRB REPORTS with the Clerk
                       6 of the Court using the CM/ECF system which will send notification of such filing to
                       7 the following:
                     8 Gay C. Grunfeld, Esq.                               Attorneys for Plaintiffs and the
                       Van Swearingen, Esq.                                Certified Class and Subclasses
                     9 Michael Freedman, Esq.
                       Eric Monek Anderson, Esq.
                    10 Hannah M. Chartoff, Esq.
                       Benjamin W. Holston, Esq.
                    11 Kedra Chan
                       Rosen Bien Galvan & Grunfeld LLP
                    12 101 Mission Street, Sixth Floor
                       San Francisco, CA 94105-1738
                    13 Telephone: 415.433.6830
                       Facsimile: 415.433.7104
                    14 Email: ggrunfeld@rbgg.com
                       Email: vswearingen@rbgg.com
                    15 Email: mfreedman@rbgg.com
                       Email: eanderson@rbgg.com
                    16 Email: hchartoff@rbgg.com
                       Email: bholston@rbgg.com
                    17 Email: kchan@rbgg.com
                    18 Aaron J. Fischer, Esq.                              Attorneys for Plaintiffs and the
                       Law Office of Aaron J. Fischer                      Certified Class and Subclasses
                    19 1400 Shattuck Square Suite 12 - #344
                       Berkeley, California 94709
                    20 Telephone: 510.806.7366
                       Facsimile: 510.94.6314
                    21 Email: ajf@aaronfischerlaw.com
                    22
                    23
                    24
                    25
                    26
                    27
                    28
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                                   2                 Case No. 3:20-cv-00406-AJB-DDL
  ATTO RNEY S AT LAW                                                                          NOTICE OF MOTION FOR
       SA N J OSE
                                                                                                   RECONSIDERATION
                Case 3:20-cv-00406-AJB-DDL         Document 886     Filed 04/14/25   PageID.46221       Page
                                                          4 of 4



                       1 Christopher M. Young, Esq.                       Attorneys for Plaintiffs and the
                         Isabella Neal, Esq.                              Certified Class and Subclasses
                       2 Oliver Kiefer, Esq.
                         DLA Piper LLP
                       3 4365 Executive Drive, Suite 1100
                         San Diego, CA 92121
                       4 Telephone: 858.677.1400
                         Facsimile: 858.677.1401
                       5 Email: christopher.young@dlapiper.com
                         Email: isabella.neal@dlapiper.com
                       6 Email: oliver.kiefer@dlapiper.com
                       7
                       Eugene P. Ramirez, Esq.                 Attorneys for Non-Party NAPHCARE
                     8 Marguerite L. Jonak, Esq.               OF SAN DIEGO LLC
                       David Fleck, Esq.
                     9 MANNING & KASS ELLROD, RAMIREZ,
                       TRESTER LLP
                    10 801 S. Figueroa Street, 15th Floor
                       Los Angeles, CA 90017-3012
                    11 Telephone: 213.624.6900
                       Facsimile: 213.624.6999
                    12 Email: eugene.ramirez@manningkass.com
                       Email: marguerite.jonak@manningkass.com
                    13 Email: david.fleck@manningkass.com
                    14
                                 I also certify the document and a copy of the Notice of Electronic Filing was
                    15
                           served via email on the following non-CM/ECF participants:
                    16
                    17
                    18
                    19                                              Komal K. Prasad
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
B URKE , W ILLIAMS &
   S ORENS EN , LLP                                                  3                Case No. 3:20-cv-00406-AJB-DDL
  ATTO RNEY S AT LAW                                                                        NOTICE OF MOTION FOR
       SA N J OSE
                                                                                                 RECONSIDERATION
